Case 2:18-cv-11776-AJT-EAS ECF No. 19 filed 06/14/18       PageID.269   Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN DOE,                                         Case No. 18-11776

             Plaintiff,                           SENIOR U.S. DISTRICT JUDGE
v.                                                ARTHUR J. TARNOW

UNIVERSITY OF MICHIGAN, ET AL.,                   U.S. MAGISTRATE JUDGE
                                                  ELIZABETH A. STAFFORD
             Defendants.
                                      /

ORDER GRANTING IN PART PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING
  ORDER AND PRELIMINARY INJUNCTION [4] WITH REMAINING ISSUES TO BE
                       DECIDED AFTER HEARING

      On June 4, 2018, Plaintiff John Doe, through counsel, commenced this

action against the University of Michigan alleging, inter alia, that its Sexual

Misconduct Policy (“Policy”) violates his due process rights. On June 5, 2018,

Plaintiff filed a Motion for Temporary Restraining Order and Preliminary

Injunction [4], asking the Court to immediately enjoin Defendants from: 1)

withholding Plaintiff’s official transcript and degree; 2) continuing their

investigation, sanctions, and appeals process under the Policy; and 3) continuing to

use the Policy.

      The Court held a telephone conference, on the record, on June 11, 2018. At

the conference, the parties discussed resolution of the first issue of Plaintiff’s

Motion for TRO, including Defendants’ issuance of a clean, unmarked transcript to

                                    Page 1 of 2
Case 2:18-cv-11776-AJT-EAS ECF No. 19 filed 06/14/18           PageID.270   Page 2 of 2



Plaintiff for his use in graduate school applications. The parties agreed to update

the Court by Tuesday, June 12th at 12:00 PM as to whether Defendants would

release the transcript to Plaintiff.

       The Court, having heard nothing from the parties, construes their silence as

stipulation to the resolution of the first issue of Plaintiff’s Motion for TRO [4]. The

additional issues in Plaintiff’s Motion will be decided after they have been fully

briefed.

       Accordingly,

       IT IS ORDERED that Plaintiff’s Motion for Temporary Restraining Order

[4] is GRANTED in part, with remaining issues to be decided after a hearing.

       IT IS FURTHER ORDERED that Defendants immediately release to

Plaintiff his official transcript pending resolution of this case.

       SO ORDERED.


                                         s/Arthur J. Tarnow
                                         Arthur J. Tarnow
Dated: June 14, 2018                     Senior United States District Judge




                                       Page 2 of 2
